             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

CORECO JA’QAN PEARSON, et al.,

       Plaintiffs,
                                             CIVIL ACTION
       v.
                                             FILE NO. 1:20-cv-04809-TCB
BRIAN KEMP, in his official capacity
    as Governor of Georgia et al.,

       Defendants.


             STATE DEFENDANTS’ EMERGENCY MOTION
            TO DISSOLVE, ALTER, OR AMEND TEMPORARY
            RESTRAINING ORDER AND BRIEF IN SUPPORT

      Defendants Governor Brian Kemp, Secretary of State and Chair of the

State Election Board Brad Raffensperger, and State Election Board Members

David Worley, Rebecca Sullivan, Matthew Mashburn, and Anh Le

(collectively, the “State Defendants”), hereby move1 this Court to dissolve the

November 29, 2020 Temporary Restraining Order entered by the Court, [Doc.




1For the same reasons the Order is due to be dissolved, altered, or amended,
good cause exists to waive the time requirements of Local Rule 7.1 and treat
this motion as an emergency motion pursuant to Local Rule 7.2. Specifically,
without dissolution, alteration, or amendment, the ability of local county
officials to efficiently and securely conduct the upcoming January 5, 2021
Run-Off Elections will be significantly inhibited.
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14], or, in the alternative, to alter or amend that Order, showing the Court as

follows:

      As this Court is aware, Georgians are set to choose their next United

States Senators and a Public Service Commissioner on January 5, 2020.

Early voting in the election commences in just over two weeks, on December

14, 2020. In-person early voting takes place on Georgia’s ballot marking

devices (“BMDs”), which are subject to Paragraph Two of the Court’s

November 29, 2020 Order granting emergency temporary injunctive relief

(the “Order” or “TRO”). Specifically, Paragraph Two provides that the State

Defendants (collectively, the “State”) are “ENJOINED and RESTRAINED

from altering, destroying, or erasing, or allowing the alteration, destruction,

or erasure of, any software or data on any Dominion voting machine in Cobb,

Gwinnett, and Cherokee Counties.”

      With this Motion, the State seeks to amend Paragraph Two so that

counties may proceed with Logic and Accuracy testing needed to prepare the

machines for early, in-person and election-day voting as required by State

law.2 Without some modification, non-party Cobb County’s ability to prepare


2 Under Jacobson v. Florida Secretary of State, 974 F.3d 1236, 1253 (11th Cir.
2020), the State does not maintain the BMD’s at issue. Nevertheless, in the
light of the Order, and because the State is subject to the Order, it seeks the
relief articulated in this Motion.
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for the January 5, 2021 Run-off Election will be significantly hindered if not

practically precluded altogether, while voters in Gwinnett County could be

deprived of the same rights to early voting as voters in other Georgia

counties. Cobb and Gwinnett voters may also be subject to long lines due to

an insufficient number of voting machines. There is no reason for these

outcomes and, consequently, the State respectfully requests that this Court

dissolve the TRO or otherwise modify Paragraph Two of the Order to permit

Cobb and Gwinnett County machines to be used in the rapidly approaching

Run-off Election.


             ARGUMENT AND CITATION TO AUTHORITY

      There are good grounds to grant the State’s Motion. First, the standard

to grant the State’s requested relief is broad, and this Court retains

jurisdiction to do so. Second, evidence attached to this Motion demonstrates

the need to use the Cobb and Gwinnett BMDs, which does not interfere with

any evidence the Plaintiffs may seek at some later time. Third, as this Court

has already recognized, Plaintiffs themselves have caused the delay in this

litigation. See [37, pp. 2–3]. They cannot now complain that immediate relief

remains warranted.




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I.    Applicable Legal Standard

      Federal Rule of Civil Procedure 65(b)(4) authorizes the Court to

dissolve the Order quickly—in two days or less. Case law empowers this

Court with broad authority to do so. Collum v. Edwards, 578 F.2d 110, 113

(5th Cir. 1978) (addressing preliminary injunction). See also Mincey v. Head,

206 F.3d 1106 (11th Cir. 2000) (quoting American Home Assurance Co. v.

Glenn Estess & Assocs., 763 F.2d 1237, 1238–39 (11th Cir. 1985) (addressing

Rule 59(e) and amendment of judgments)). Similarly, Federal Rule of Civil

Procedure 62(d) permits this Court to “suspend, modify, restore, or grant an

injunction on terms for bond or other terms that secure the opposing party's

rights,” while an appeal is pending.

      Some Courts treat a motion seeking to dissolve or modify an injunction

while an appeal is pending as a motion for reconsideration (which in turn

falls within Fed. R. Civ. P. 59(e)), justified whenever any one of the following

three instances is demonstrated: “(1) there has been an intervening change in

the law, (2) new evidence has been discovered that was not previously

available to the parties at the time the original order was entered, or (3)

reconsideration is necessary to correct a clear error of law or prevent

manifest injustice.” Securities & Exchange Comm’n v. Conversion Solutions

Holding Corp., No. 1:06-cv-2568-CC, 2008 WL 11407217 (N.D. Ga. Jul. 21,

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2008) (citing Bryan v. Murphy, 246 F. Supp. 2d 1256, 1258–59 (N.D. Ga.

2003) (emphasis added) (applying Fed. R. Civ. P. 59)). Other courts have

taken a broader approach, applying “general equitable principles.” Huk-A-Poo

Sportswear, Inc. v. Little Lisa, Ltd., 74 F.R.D. 621, 623 (S.D.N.Y. 1977).

         Plaintiffs’ Notice of Appeal suggests this Court is now divested of

jurisdiction. [Doc. 32]. Plaintiffs are wrong. This Court “retain[s] jurisdiction

over motions for alteration or amendment” of its Order, even after a notice of

appeal is given. Wright & Miller, 11 Fed. Prac. & Proc. Civ. § 2810.1 (3d ed.

Oct. 2020 Update). At the very least, courts in the Eleventh Circuit consider

motions for reconsideration to be encompassed within the provisions of

Federal Rule of Civil Procedure 59(e). See Green v. Drug Enforcement Admin.,

606 F.3d 1296 (2010); see also Dixit v. Singh, No. 1:18-cv-403-TWT (N.D. Ga.

Apr. 23, 2018).


II.      The Order should be dissolved or amended since information is
         already retained and it imposes undue hardship on non-parties.

      A. Election data is retained under existing processes.

         Plaintiffs contend that an immediate temporary restraining order is

necessary because they fear the voting machines will be “wiped” before the

upcoming elections and forensic data will be lost. [Doc. 6]. Plaintiffs again are

wrong. A basic understanding of the State’s elections system instead shows

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that data from the election is stored in three different ways following

completion of the election, even in the absence of the Court’s Temporary

Restraining Order.

      Before each election, Ballot Marking Devices (“BMDs”) utilize USB

drives to load certain election data files onto the BMDs. See Declaration of

Michael Barnes, ¶ 3, attached hereto as Exhibit 1. Those election data files

contain blank ballot images for each precinct associated to the BMD for the

previous election, the ballot activation codes needed to access each associated

ballot, and the audio files associated to the content within the ballot images

for visually impaired voters. Id. Before a new election occurs, the election

data files from the most-recent election must be removed from the BMDs, as

the BMDs host only one set of those files at a time. Id. at ¶ 4. The removal of

election data files does not alter the operational software or source code of the

BMDs. Id.

      Separate from the BMDs, scanners are employed to count the paper

ballots produced by the BMD and attached printer; those scanners utilize

Compact Flash Cards. These Compact Flash Cards contain election files

downloaded from the county’s election management server before each

election—like the files used in the BMD, the files employed with the scanners

correspond to the particular election. Id. at ¶ 5. There are only a limited
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number of these cards, so they must be formatted and re-used for each

election. Id. at ¶ 6. The formatting removes all data previously held by the

Compact Flash Cards. However, before the formatting occurs, the results

contained in the memory cards are uploaded to the specific county’s election

management server, and retained. Id. Thus, the data is securely stored after

each election and before the removal of the data from the Compact Flash

Cards.

      Finally, the paper ballots on which votes were cast are also retained. In

Georgia’s BMD System, a voter makes their selection on the BMD which is

connected to a printer that produces a paper ballot. That ballot is then taken

to a precinct scanner which records the votes contained on the paper ballot

and deposits the ballot into a secure box. With respect to absentee-by-mail

and provisional ballots, those ballots are similarly counted by a scanner and,

like the in-person ballots, are retained.

      All of this data is required by Georgia law to be retained, even in the

absence of the TRO. Indeed, Code Section 21-2-500 requires the following

information to be stored with the Clerk of Superior Court or other County

Officer designated by the County governing authority:

      the used and void ballots and the stubs of all ballots used; one
      copy of the oaths of poll officers; and one copy of each numbered
      list of voters, tally paper, voting machine paper proof sheet, and
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      return sheet involved in the primary or election. In addition, the
      superintendent shall deliver copies of the voting machine ballot
      labels, computer chips containing ballot tabulation programs,
      copies of computer records of ballot design, and similar items or
      an electronic record of the program by which votes are to be
      recorded or tabulated, which is captured prior to the election, and
      which is stored on some alternative medium such as a CD-ROM
      or floppy disk simultaneously with the programming of the
      PROM or other memory storage device. The clerk, county records
      manager, or the office or officer designated by the clerk shall hold
      such ballots and other documents under seal, unless otherwise
      directed by the superior court, for at least 24 months, after which
      time they shall be presented to the grand jury for inspection at its
      next meeting.

O.C.G.A. § 21-2-500(a). Thus, to the extent Plaintiffs can later demonstrate a

need for any of this information, it remains available for inspection even in

the absence of the Temporary Restraining Order.


   B. Enforcement of the Order will impose undue hardship on non-party
      counties and their voters.

      Continued enforcement of Paragraph Two’s embargo of the BMDs

would cause substantial harm to Georgia voters in Cobb and Gwinnett

counties, and in turn, the State election system and Georgia voters generally.

Specifically, continued segregation of the counties’ voting machines pursuant

to the TRO would significantly and materially interfere with preparation for

the upcoming runoff election.




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      Early voting is set to begin on December 14 for the January 5, 2021

State and Federal General Election Runoff for two seats in the United States

Senate and one seat on Georgia’s Public Service Commission. See O.C.G.A. §

21-2-385(d)(1) (establishing a period for advance voting). These elections will

not happen with the flick of a switch, instead requiring significant advance

preparations that must begin prior to dissolution date of the TRO. These

activities include conducting essential Logic and Accuracy testing on the

machines, a requirement of State law, which must be conducted on the BMDs

prior to their use for both early and election day voting. See O.C.G.A. § 21-2-

379.25(c), Ga. Comp. R & Regs. r. 183-1-12-.08. The Logic and Accuracy

testing, in turn, requires removal of the files from the previous election and

utilization of files for the current election, as described in Section II.A., supra.

Ex. 1 at ¶ 7.

      Under state law, the BMDs must be utilized for both early in-person

and election day voting. O.C.G.A. § 21-2-300. In Gwinnett County, the BMDs

are utilized for the County’s 156 voting precincts and nine advance-voting

locations. See Declaration of Kristi Royston, ¶ 3, attached hereto as Exhibit

2. Prior to entry of the TRO, Gwinnett County intended to begin testing of

BMD’s which will be utilized for early in-person voting this week. Id. at ¶ 9.

Gwinnett County has not yet begun that testing due to the TRO. Id. Unless
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Gwinnett County is able to begin testing this week, “it will not be possible to

timely execute all of the tasks necessary to facilitate the opening of [early in-

person voting] in the County for what is anticipated to be a high turnout

runoff election.” Id. at ¶ 10. While Cobb County, on the other hand, possesses

sufficient BMDs not subject to the TRO for early in-person voting, it intends

to use BMDs that are subject to the TRO on election day. See Declaration of

Janine Eveler, ¶¶ 4–5, attached hereto as Exhibit 3. However, Cobb County

must begin Logic and Accuracy by December 8, 2020 to ensure the machines

are ready for deployment on election day. Id. at ¶ 6. Put simply, Cobb and

Gwinnett counties will be unable to be prepared for voting under the extant

TRO.

       Thus, for at least Cobb and Gwinnett counties, the continued threat of

enforcement of the TRO (to which they are not a party) would rule out, or at

least make extremely difficult, any chance of readiness for early voting on

December 14 and election-day voting. This would unfairly impede Cobb and

Gwinnett election officials, and may well impose significant burden on those

counties’ voters from being able to participate in early voting, and could

ultimately lead to longer lines during the later days of early voting or election

day itself.



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      Furthermore, as a result of the disruption to elections activities in Cobb

and Gwinnett counties, the State would also suffer significant harm. The

State has a strong interest in running an efficient election. New Ga. Project v.

Raffensperger, 976 F.3d 1278, 1282 (11th Cir. 2020). Interruption of two

counties’ preparation processes and the resulting impact on early voting, and

on Election Day itself, frustrates this interest. The associated voter confusion

at the unanticipated elimination of the early-voting option, as well as other

realistic impacts on election day voting, is further disruptive. The harm to

the counties, Georgia voters, and the State election process itself cannot be

overstated. At this point, and particularly in the light of the delay caused by

the Plaintiffs’ litigation strategy, Paragraph Two of the Order requiring

segregation of the BMDs is simply not compatible with the Sate’s interest in

running a smooth election. Due to the significant harms imposed on the

counties and on Georgia’s election system, the Order should be dissolved, or

at least amended.

      The State has satisfied either Rule 59’s three factor test or Rule

65(b)(4)’s more flexible “general equitable principles” standard. See Little

Lisa, Ltd., 74 F.R.D. at 623. Here, both the second and third circumstances—

new evidence or preventing manifest injustice—are applicable. See

Conversion Solutions Holding Corp., 2008 WL 11407217 at * 1. As explained,
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evidence which was not previously available at the time this Court’s Order

was entered demonstrates that counties may be unable to complete pre-

election Logic and Accuracy Testing required by State law while complying

with the Order. As to the third circumstance, this new evidence further

shows that this Court’s Order may well impose manifest injustice upon

Georgia voters in the affected counties, hindering their ability to vote with

ease while the State’s other 156 counties are not subject to the Order (to the

extent the three counties named therein are subject to it at all).


III.   The Order should be dissolved since Plaintiffs have failed to
       add non-party county officials, rendering the relief ordered
       improper.

       During the TRO hearing on Sunday, November 29, the Plaintiffs

represented to the Court that they seek to bring in the relevant counties, as

they are the ones in the control of the BMDs. Indeed, multiple counsel for the

Plaintiffs indicated that counties could and later would be brought in

“tonight,” meaning over three days ago. [Doc. 23] (TRO Hr’g) Tr. 27:13-14;

36:23-25. Plaintiffs’ counsel went even further and promised that if “the

Court gives us until Tuesday to examine, we will add the counties that the

Court lets us go examine, we will do it add them tomorrow; add them

tonight.” (Id. at 24:11-14).


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      Since Sunday, Plaintiffs have hosted rallies, filed an appeal in the

Eleventh Circuit, and engaged in an aggressive social media campaign falsely

accusing elected State Officials of fraud and crime. They have not, however,

lived up to their representation to this Court to add the necessary parties. As

the Court may recall, it was initially going to deny the TRO, and it may have

granted limited relief under the belief that the Plaintiffs meant what they

said and said what they meant when they represented they would bring in

the proper parties to this litigation.

      As the case now sits before this Court, binding precedent forecloses any

of the relief Plaintiffs sought with the TRO (beyond preserving information

held by the State). See Jacobson v. Florida Sec’y of State, 974 F.3d 1236, 1253

(11th Cir. 2020). Plaintiffs attempt to evade Jacobson’s binding precedent by

claiming it is only about Florida law. TRO Hr’g Tr. 22:13. Plaintiffs’

argument reads Jacobson far too narrowly, as Judge William Pryor

considered language from a Florida statute that is substantively the same as

Georgia’s (both identify the Secretary as the “Chief Election Officer”). Id. This

language, the same Plaintiffs cite, proved insufficient to establish traceability

of every election issue to the Secretary. Id. Applying Georgia law, United

States District Court Judge Michael L. Brown came to the same conclusion

earlier this year in Anderson v. Raffensperger, 1:20-CV-03263, 2020 WL
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6048048, at *23 (N.D. Ga. Oct. 13, 2020). This lack of State authority and

control provides another reason to amend the Order and allow the BMDs to

be prepared for use in Cobb and Gwinnett Counties.

      In sum, the State has demonstrated that “general equitable principles”

warrant modifying the Order. Little Lisa, Ltd., 74 F.R.D. at 623. On the one

hand, a continued embargo of the BMDs will prevent voters in Gwinnett from

having access to the machines during early voting and will inhibit Cobb from

preparing its machines for election day. This will likely cause longer lines,

voter confusion, and longer tabulation times. On the other hand, allowing the

BMDs to be used does not harm Plaintiffs in the slightest. The State is

maintaining all paper ballots, and electronic information is saved on the

State’s Election Database. Time is of the essence, and the Court’s relief is

needed now.


                               CONCLUSION

      For the foregoing reasons, State Defendants respectfully request this

Court dissolve or modify the TRO to prevent unintended impacts on Georgia’s

Run-off Election.

      Respectfully submitted this 3rd day of December 2020.




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                   CERTIFICATE OF COMPLIANCE

     Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

STATE DEFENDANTS’ EMERGENCY MOTION TO DISSOLVE, ALTER,

OR AMEND TEMPORARY RESTRAINING ORDER AND BRIEF IN

SUPPORT was prepared double-spaced in 13-point Century Schoolbook font,

approved by the Court in Local Rule 5.1(C).

                              /s/Carey Miller
                              Carey Miller




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